                   Case 1:20-cv-07311-LAK Document 51 Filed 12/21/20 Page 1 of 4

                              KASOWITZ BENSON TORRES                             LLP
                                                1633 BROADWAY                                  ATLANTA
                                                                                              H OUSTON
                                           NEW YORK, NEW YORK 10019                         LOS ANGELES
     MARC E. KASOWITZ                                                                           MIAMI
DIRECT DIAL: 212-506-1710                        (212) 506-1700
                                                                                               N EWARK
DIRECT FAX: 212-835-5010
  MKASOWITZ @ KASOWITZ .COM                    FAX: (212) 506-1800                         SAN F RANCISCO
                                                                                           SILICON VALLEY
                                                                                           W ASHINGTON DC




                                                                     December 21, 2020

        VIA ECF
        The Honorable Lewis A. Kaplan
        United States District Court
        Southern District of New York
        Daniel Patrick Moynihan
        United States Courthouse
        500 Pearl Street
        New York, New York 10007

                 Re:     Carroll v. Trump, 1:20-cv-07311 (LAK)

        Dear Judge Kaplan:

                We respectfully write, on behalf of defendant President Donald J. Trump, in reply to
        plaintiff’s December 17, 2020 memorandum of law (ECF No. 50) (“Opp.”), and in further
        support of defendant’s letter motion to stay proceedings for lack of jurisdiction (ECF No. 47)
        pending his appeal.1

                As shown, when President Trump and the United States filed their notices of appeal from
        this Court’s reviewable, final Order, this Court was divested of jurisdiction over all matters at
        issue in the appeal, which, inasmuch as that order denied defendant’s immunity from suit, is all
        matters.2 Plaintiff’s assertion to the contrary relies entirely on mischaracterizations of the law.

               First, plaintiff’s assertion that defendant’s reasoning suffers from a “fundamental flaw”
        because of the Second Circuit’s statement in United States v. Rodgers, 101 F.3d 247, 251-52 (2d
        Cir. 1996), that divestiture pending appeal is a judicially crafted rule, and not a per se rule, is



        1
                Opening briefs are due January 15, 2020. Plaintiff must then determine when, within 91
        days, she wishes to file her brief. See 2d Cir. R. 31.2(1)(b).
        2
               As this Court recognized, if the Second Circuit finds that the Westfall Act applies to
        President Trump, this suit would be barred in its entirety under the doctrine of Sovereign
        Immunity, because the United States has not waived Sovereign Immunity in defamation actions.
        See Order at 29-30 (“[T]he FTCA’s waiver of sovereign immunity contains an exception for libel
        and slander claims.”)
          Case 1:20-cv-07311-LAK Document 51 Filed 12/21/20 Page 2 of 4

KASOWITZ BENSON TORRES                                 LLP

Hon. Lewis A. Kaplan
December 21, 2020
Page 2


itself fundamentally flawed.3 The court in In re Facebook, Inc., IPO Secs. & Derivative Litig.,
42 F. Supp. 3d 556, 561 (S.D.N.Y. Aug. 26, 2014) recognized that Rodgers -- a criminal case, in
which decisions are “not final, and therefore not appealable, until after . . . sentenc[ing]” --
“does not bear directly on cases involving the appeal of a denial of . . . immunity” and “cannot
reasonably be read to ‘fully empower’ district courts to compel discovery in the name of judicial
efficiency while a denial of . . . immunity is being considered by the Court of Appeals,” as
plaintiff contends here.

       As the numerous cases defendant cited established, because this appeal involves
immunity from suit, which protects a defendant from discovery, an appeal from that denial of
that immunity divests the Court of jurisdiction to oversee discovery pending that appeal. (Letter
1-2.) See also Rodgers, 101 F.3d at 251 (“A district court does not regain jurisdiction until the
issuance of the mandate by the clerk of the court of appeals.”); Maricultura del Norte, S. de R.L.
de C.V. v. WorldBusiness Capital, Inc., No. 14 CIV. 10143 (CM), 2019 WL 2117645, at *3-4, 6
(S.D.N.Y. Apr. 26, 2019) (denying motion to compel because “ordering discovery at this stage
would be premature” until “the Court of Appeals issues its mandate”).

         Second, plaintiff’s argument that this Court must consider stay factors “to decide whether
a stay is warranted” (Opp. at 2) relies on a mischaracterization of In re World Trade Center
Disaster Site Litigation (“WTC”), 503 F.3d 167 (2d Cir. 2007). At every stage of the litigation,
both the District Court and Second Circuit in WTC affirmed that a notice of appeal from a final
order denying immunity from suit -- which this Court’s Order indisputably is, see Osborn v.
Haley, 549 U.S. 225, 238 (2007) -- divests the district court of jurisdiction. There, the plaintiffs
-- approximately 3,000 workers who had worked to clear debris from the World Trade Center
site following September 11, 2001 -- sued, among others, the City of New York and the Port
Authority for the permanent respiratory damage they suffered. See In re World Trade Ctr.
Disaster Site Litig., 456 F. Supp. 2d 520, 523 (S.D.N.Y. 2006), aff'd in part, appeal dismissed in
part, 521 F.3d 169 (2d Cir. 2008). The court denied defendants’ immunity defense, on the
ground that it required further factual development. Id. When defendants sought to appeal that
decision, the court found defendants’ argument that it was a final, appealable order “border[ed]
on frivolous, if not frivolous,” and for that reason alone, held that the appeal did not divest the


3
         Rodgers held only that if the appeal itself is faulty -- which plaintiff does not and cannot
assert is the case here -- the district court need not wait for the appellate court to dismiss the
appeal, because there is no “efficiency in allowing a party to halt district court proceedings
arbitrarily by filing a plainly unauthorized notice of appeal which confers on this court the power
to do nothing but dismiss the appeal.” Id. at 251-52. Likewise, in Loria (Opp. at 3), the district
court erroneously held “Defendants have no basis for seeking collateral review in the Court of
Appeals, therefore, defendant’s motion for a stay is denied.” Loria v. City of Rochester, No. 98-
CV-6355 (CJS), 2001 WL 1822379, at *6 (W.D.N.Y. Nov. 6, 2001), rev’d in part sub nom.
Loria v. Gorman, 306 F.3d 1271, 1280 (2d Cir. 2002)
          Case 1:20-cv-07311-LAK Document 51 Filed 12/21/20 Page 3 of 4

KASOWITZ BENSON TORRES                                 LLP

Hon. Lewis A. Kaplan
December 21, 2020
Page 3


Court of jurisdiction. See In re World Trade Ctr. Disaster Site Litig., 469 F. Supp. 2d 134, 140
(S.D.N.Y. 2007).

        Notwithstanding the district court’s assessment, the Second Circuit disagreed and stayed
pre-trial proceedings because the appeal involved an “at least arguable” issue of immunity --
again reaffirming the sanctity of preserving even potentially frivolous claims of immunity from
suit on appeal. WTC, 2007 U.S. App. LEXIS 8728, at *8 (2d Cir. Mar. 9, 2007) (summary
order) (citing Mitchell v. Forsyth, 472 U.S. 511, 526-27, 105 S. Ct. 2806, 2815-16 (1985)). (See
Ex. 1.)

         The plaintiffs then moved in the Second Circuit to lift the stay or restore jurisdiction. But
the Second Circuit did not, as plaintiff here contends, hold that defendants must seek a stay from
the district court when they appeal a final order. Rather, the court held that if the order was final,
the “District Court[’s] jurisdiction was divested [and], our stay was superfluous,” and analyzed
whether to restore the district court’s jurisdiction or vacate the stay, while expressly reserving
decision on which standard was appropriate. See In re World Trade Ctr. Disaster Site Litig., 503
F.3d 167, 170-71 (2d Cir. 2007) (“we will consider both . . .”). Under the extraordinary facts of
that case -- and only after full briefing that resulted in a “lesser probability” of defendants’
immunity defenses succeeding -- the Court “vacat[ed] the stay of proceedings and . . .
remand[ed] the litigation to the District Court, thereby restoring its jurisdiction to proceed with
pretrial proceedings,” so that there might be “compensation for at least some Plaintiffs during
their lifetimes, even though that course will impose upon the Defendants the burdens of pretrial
discovery, thereby denying them immunity from suit during the interval from now until such
time as it might ultimately be determined that their claims for immunity from suit are valid.” Id.
at 170.4 Accordingly, WTC does not support the proposition that defendant is required to seek a
stay in this Court or that this Court may restore its own jurisdiction once divested.

       Plaintiff’s invocation of the stay factors are thus entirely misplaced and this action must
be stayed for lack of jurisdiction.5

4
        The Court ultimately dismissed the appeal, finding that, unlike here, the order was not a
final order because defendants were entitled only to immunity from liability, not suit. WTC, 521
F.3d 169, 187, 193 (2d Cir. 2008).
5
        Plaintiffs’ assertions of “gamesmanship” (Opp. at 4-6) are also entirely unfounded. First,
plaintiff did not engage in “substantial document discovery” in state court (Opp. at 4). Plaintiff
served her responses and objections in state court the same day that this action was removed. No
documents were produced. Plaintiff complains about the time it took to serve the complaint
(Opp. at 5), but she filed her complaint on November 4, 2019, and served it only seven business
days later on November 13, 2019. (NYSCEF Doc. Nos. 2, 17.) Defendant’s jurisdictional
objections and assertions of his rights to immunity here and in state court also do not constitute
“stonewalling.” (Opp. at 5-6.)
        Case 1:20-cv-07311-LAK Document 51 Filed 12/21/20 Page 4 of 4

KASOWITZ BENSON TORRES                   LLP

Hon. Lewis A. Kaplan
December 21, 2020
Page 4




                                               Respectfully submitted,

                                               /s/ Marc E. Kasowitz

                                               Marc E. Kasowitz

cc:   Counsel of Record (via ECF)
